Case 3:09-cr-00237-RGJ-KLH           Document 75         Filed 01/15/10      Page 1 of 2 PageID #:
                                            202



                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                          *    CRIMINAL NO. 09-0237-02


 VERSUS                                            *    JUDGE ROBERT G. JAMES


 ERIC LEE ROBINSON                                 *    MAG. JUDGE KAREN L. HAYES


                 REPORT AND RECOMMENDATION ON
  FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE


       Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for administration of

Guilty Plea, and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

       This cause came before the undersigned U. S. Magistrate Judge for a change of plea

hearing and allocution of the defendant, Eric Lee Robinson, on January 15, 2010. Defendant was

present with his counsel, Mr. Mike Courteau.

       After said hearing, and for reasons orally assigned, It is the finding of the undersigned

that the defendant is fully competent, that his plea of guilty is knowing and voluntary, and his

guilty plea to Count Nine of the Indictment, together with his acknowledged obligation to

provide restitution, is fully supported by a written factual basis for each of the essential elements

of the offense. Therefore the undersigned U.S. Magistrate Judge recommends that the District

Court ACCEPT the guilty plea of the defendant, Eric Lee Robinson, in accordance with the

terms of the plea agreement filed in the record of these proceedings, and that Eric Lee Robinson

be finally adjudged guilty of the offense charged in Count Nine of the Indictment. It is further
Case 3:09-cr-00237-RGJ-KLH           Document 75        Filed 01/15/10      Page 2 of 2 PageID #:
                                            203



recommended that the District Court ACCEPT defendant’s agreement to provide restitution.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and F.R.C.P. Rule 72(b), the parties

have fourteen (14) days from service of this Report and Recommendation to file specific,

written objections with the Clerk of Court. A party may respond to another party’s objections

within fourteen (14) days after being served with a copy thereof. A courtesy copy of any

objection or response or request for extension of time shall be furnished to the District Judge at

the time of filing. Timely objections will be considered by the District Judge before he makes a

final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

REPORT WITHIN FOURTEEN (14) DAYS FROM THE DATE OF ITS SERVICE

SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

        THUS DONE AND SIGNED at Monroe, Louisiana, this 15th day of January 2010.
